                                     UNITED STATES BANKRUPTCY COURT
                                   FOR THE EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION-DETROIT

IN RE:
  DUSTON T. POPE,                                                           CHAPTER          13
                                                                            CASE NO:         12-66232
             Debtor(s).                                                     JUDGE:           MARCI B. McIVOR
___________________________________/

                                              ORDER CONFIRMING PLAN

         The Debtor(s)’ Chapter 13 plan was duly served on all parties in interest. A hearing on confirmation of the plan was
held after due notice to parties in interest. Objections, if any, have been resolved. The Court hereby finds that each of the
requirements for confirmation of a Chapter 13 plan pursuant to 11 USC §1325(a) are met.

        Therefore, IT IS HEREBY ORDERED that the Debtor(s)’ Chapter 13 plan, as last amended, if at all, is confirmed.

        IT IS FURTHER ORDERED that the claim of ROCHELLE E. GUZNACK, Attorney for the Debtor(s), for the
allowance of compensation and reimbursement of expenses is allowed in the total amount of N/A in fees and N/A in
expenses, and that the portion of such claim which has not already been paid, to-wit: $0 shall be paid by the Trustee as an
administrative expense of this case. Compensation shall be by fee application.

        IT IS FURTHER ORDERED that the Debtor(s) shall maintain all policies of insurance on all property of the
Debtor(s) and this estate as required by law and contract.

          All filed claims to which an objection has not been filed are deemed allowed pursuant to 11 USC §502(a), and the
Trustee is therefore ORDERED to make distributions on these claims pursuant to the terms of the Chapter 13 plan, as well as
all fees due the Clerk pursuant to statute.

        IT IS FURTHER ORDERED as follows: [Only provisions checked below apply]

 The Debtor shall remit 100% of all tax refunds to which Debtor is entitled during the pendency of the Plan and shall
not alter withholdings without Court approval.

Debtor shall remit 100% of profit sharing funds and/or bonuses received while this Plan is in effect to the Trustee for
distribution among creditors;

 The lease for the 2012 Ford Fusion is assumed and paid directly by the Debtor pursuant to the contractual terms. The
automatic stay is vacated as it applies to Ford Motor Credit Company LLC on September 8, 2014, the lease termination
date, or if the Debtor voluntarily surrenders the vehicle on the date of surrender. The Debtor is obligated to pay Ford
Motor Credit Company LLC, upon the filing of a supplemental proof of claim, all sums due and owing pursuant to the
lease including all sums that become due upon the breach or termination of the lease. Ford Motor Credit Company LLC
is not required to file an amended proof of claim pursuant to LBR 4001-6. The monthly payment shall be $364.31.

 The lease for the 2011 Ford Edge is assumed and paid directly by the Debtor pursuant to the contractual terms. The
automatic stay is vacated as it applies to Ford Motor Credit Company LLC on December 8, 2014, the lease termination
date, or if the Debtor voluntarily surrenders the vehicle on the date of surrender. The Debtor is obligated to pay Ford
Motor Credit Company LLC, upon the filing of a supplemental proof of claim, all sums due and owing pursuant to the
lease including all sums that become due upon the breach or termination of the lease. Ford Motor Credit Company LLC
is not required to file an amended proof of claim pursuant to LBR 4001-6. The monthly payment shall be $524.75.




          12-66232-mbm          Doc 57      Filed 05/22/13       Entered 05/22/13 07:39:54            Page 1 of 2
    The Debtor's Plan shall continue for no less than 60 months unless unsecured creditors are paid 100% of their claim
   earlier.

    Other:
   Debtor’s payments shall be increased to $559.29 effective 5/16/2013 until November 30, 2015 at which time payments shall
   increase to $859.29 until completion of the Plan or further order of the court.

   Objections Withdrawn



   Approved:
                                                     Objections Withdrawn

                                               By:

/s/ David Wm. Ruskin                           /s/ Joseph F. Fazi                      /s/Rochelle E. Guznack
DAVID WM. RUSKIN                               For Creditor:         Kilpatrick   &    ROCHELLE E. GUZNACK (P61675)
Chapter 13 Trustee                             Associates, P.C.                        Attorney for Debtor
1100 Travelers Tower                                                                   905 W. Ann Arbor Trail
26555 Evergreen Rd.                                                                    Plymouth, MI 48170
Southfield, MI 48076                                                                   (248) 679-1552
(248) 352-7755




                                                              .

   Signed on May 22, 2013




            12-66232-mbm          Doc 57     Filed 05/22/13         Entered 05/22/13 07:39:54       Page 2 of 2
